  Case 1:20-cv-01229-CFC Document 6 Filed 10/09/20 Page 1 of 1 PageID #: 200




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 WSOU INVESTMENTS, LLC d/b/a BRAZOS
 LICENSING AND DEVELOPMENT,

                         Plaintiff,                     C.A. No. 1:20-cv-01229-CFC

        v.                                              Patent Case

 XILINX, INC.,                                          Jury Trial Demanded

                         Defendant.

              STIPULATION AND PROPOSED ORDER TO EXTEND TIME

       IT IS HEREBY STIPULATED by the undersigned counsel for Plaintiff WSOU

Investments, LLC d/b/a Brazos Licensing and Development, subject to the approval of the Court,

that Defendant’s time to answer, move or otherwise respond to the Complaint in this action shall

be extended to November 9, 2020.

       The reason for this extension is to allow Defendant additional time to investigate the

allegations of the Complaint. The requested extension should not disrupt the schedule in this case,

as a Rule 16 conference has not been scheduled in this matter.

Dated: October 9, 2020                            DEVLIN LAW FIRM LLC

                                                  /s/ James M. Lennon
OF COUNSEL:                                       James M. Lennon (No. 4570)
                                                  1526 Gilpin Avenue
Isaac Rabicoff                                    Wilmington, DE 19806
RABICOFF LAW LLC                                  Phone: (302) 449-9010
5680 King Centre Dr., Suite 645                   Fax: (302) 353-4251
Alexandria, VA 22315                              jlennon@devlinlawfirm.com
(773) 669-4590
isaac@rabilaw.com                                 Attorneys for Plaintiff

               SO ORDERED this                 day of                         , 2020.


                                United States District Court Judge
